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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION

UNITED STATES OF AMERICA                  )   CASE NO: 1:17-CR-34
                                          )
                                          )
                   v.                     )
                                          )
                                          )
REALITY LEIGH WINNER                      )

                   NOTICE OF ATTORNEY APPEARANCE

      Now comes the United States of America, by and through Bobby L. Christine,

United States Attorney for the Southern District of Georgia, and enters the

appearance of its undersigned United States Attorney in the above-captioned matter.

      This 26th day of June 2018.

                                              Respectfully submitted,

                                              BOBBY L. CHRISTINE
                                              UNITED STATES ATTORNEY

                                              s/ Bobby L. Christine

                                              Bobby L. Christine
                                              United States Attorney
                                              Southern District of Georgia
                                              Georgia Bar No. 125254


22 Barnard Street, Suite 300
Savannah, Georgia 31401
Telephone: (912) 652-4422
Facsimile: (912) 652-4991
      Case 1:17-cr-00034-JRH-BKE Document 314 Filed 06/26/18 Page 2 of 2



                            CERTIFICATE OF SERVICE

       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a

result of electronic filing in this Court.

       This 26th day of June 2018.

                                             BOBBY L. CHRISTINE
                                             UNITED STATES ATTORNEY

                                             s/ Bobby L. Christine

                                             Bobby L. Christine
                                             United States Attorney
                                             Southern District of Georgia
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